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UNITED STATES DISTRICT COURT                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 2/4/2015
----------------------------------------------------------------- X
UNITED STATES OF AMERICA                                          :
                                                                  :
                           -v-                                    :
                                                                  : 14-cr-68 (KBF)
ROSS WILLIAM ULBRICHT,                                            :
         a/k/a “Dread Pirate Roberts,”                            :    ORDER
         a/k/a “DPR,”                                             :
         a/k/a “Silk Road,”                                       :
                                                                  :
                                   Defendant.                     :
----------------------------------------------------------------- X

KATHERINE B. FORREST, District Judge:

      Attached are the jury instructions as delivered on February 4, 2015.

      SO ORDERED.

Dated:       New York, New York
             February 4, 2015




                                                __________________________________
                                                KATHERINE B. FORREST
                                                United States District Judge
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                                                                                  As Delivered



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- X
                                                                  :
UNITED STATES OF AMERICA                                          :
                                                                  :
                           -v-                                    :   14-cr-68 (KBF)
                                                                  :
ROSS WILLIAM ULBRICHT,                                            :
         a/k/a “Dread Pirate Roberts,”                            :
         a/k/a “DPR,”                                             :
         a/k/a “Silk Road,”                                       :
                                                                  :
                                        Defendant.                :
--------------------------------------------------------------- X




                                        JURY INSTRUCTIONS
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                       INTRODUCTORY INSTRUCTIONS

                                   Role of the Court

      You have now heard all of the evidence in the case, as well as the final

arguments of the lawyers for the parties. My duty at this point is to instruct you as

to the law. It is your duty to accept these instructions of law and apply them to the

facts as you determine them.

      On these legal matters, you must take the law as I give it to you. Regardless

of any opinion that you may have as to what the law may be—or ought to be—it

would violate your sworn duty to base a verdict upon any other view of the law than

that which I give you. If an attorney or anyone else at trial has stated a legal

principle different from any that I state to you in my instructions, it is my

instructions that you must follow.

      You should not single out any instruction alone stating the law, but you

should consider my instructions as a whole when you retire to deliberate in the jury

room. You may take a copy of these instructions with you into the jury room.




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                                  Role of the Jury

      Your role is to pass upon and decide the fact issues that are in the case. You,

the members of the jury, are the sole and exclusive judges of the facts. You pass

upon the weight of the evidence or lack of evidence; you determine the credibility of

the witnesses; you resolve such conflicts as there may be in the testimony; and you

draw whatever reasonable inferences you decide to draw from the facts as you have

determined them.

      The evidence before you consists of the answers given by witnesses and the

exhibits and stipulations that were received into evidence. In determining the facts,

you must rely upon your own recollection of the evidence. I will instruct you at the

end of these charges about your ability to request to have testimony read back and

your access to other evidence admitted during the trial.




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                  Statements of Counsel and Court Not Evidence;
                          Jury’s Recollection Controls

      What the lawyers have said in their opening statements, in their objections,

and in their questions, and what they have said in their closing arguments, is not

evidence. You should bear in mind particularly that a question put to a witness is

never evidence. Only the answer is evidence. If a witness affirms a particular fact

in a question by answering “yes,” you may consider that fact as agreed on by the

witness; the weight that you give that fact is up to you.

      Nor are you to substitute anything that I may have said during the trial or

during these instructions with respect to facts for your own independent

recollection. What I say is not evidence. If I have sustained an objection to a

question or stricken testimony, any stricken answers given by a witness are no

longer part of the evidence in this case, and you may not consider them.

      You should draw no inference or conclusion for or against any party because

of lawyers’ objections. Counsel have not only the right but the duty to make legal

objections when they think that such objections are appropriate.

      Also, do not draw any inferences from any of my rulings. The rulings I have

made during trial are not any indication of my views of what your decision should

be as to whether or not the Government has proven the defendant guilty of any of

the crimes charged beyond a reasonable doubt. You should draw no inference or

conclusion of any kind, favorable or unfavorable, with respect to any witness or any

party in the case, because of any comment, question, or instruction of mine.


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                              Improper Considerations

      Your verdict must be based solely upon the evidence or the lack of evidence.

It would be improper for you to consider any personal feelings you may have about

the defendant’s race, ethnicity, or national origin. It would be equally improper for

you to allow any feelings you might have about the nature of the crimes charged to

interfere with your decision-making process.

      I also want to remind you that before each of you was accepted and sworn to

act as a juror, you were asked questions concerning competency, qualifications,

fairness, and freedom from prejudice and bias. On the faith of those answers, you

were accepted as jurors by the parties. Therefore, those answers are as binding on

each of you now as they were then, and should remain so, until the jury is

discharged from consideration of this case.




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                                    The Parties

      The fact that the prosecution is brought in the name of the United States of

America entitles the Government to no greater consideration than that given to any

other party to a litigation. By the same token, the Government is entitled to no less

consideration.




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                   Presumption of Innocence and Burden of Proof

      The defendant has pleaded not guilty to the charges in the Indictment. As a

result, the burden is on the Government to prove the defendant’s guilt beyond a

reasonable doubt. This burden never shifts to the defendant for the simple reason

that the law never imposes upon a defendant in a criminal case the burden or duty

of testifying, or calling any witness, or locating or producing any evidence.

      The law presumes a defendant to be innocent of the charges. This

presumption was with the defendant when the trial began and remains with the

defendant unless and until you are convinced that the Government has proved the

defendant’s guilt beyond a reasonable doubt.

      Even though the defendant has called witnesses in this case, the presumption

of innocence remains with him, and the Government still has the burden of proof

beyond a reasonable doubt.




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                                   Reasonable Doubt

      The question that naturally arises is, “What is a reasonable doubt?” What

does that phrase mean? The words almost define themselves. A reasonable doubt

is a doubt based in reason and arising out of the evidence in the case, or the lack of

evidence. It is a doubt that a reasonable person has after carefully weighing all of

the evidence in the case.

      Reasonable doubt is a doubt that appeals to your reason, your judgment, your

experience, and your common sense. Proof beyond a reasonable doubt must,

therefore, be proof of such a convincing character that a reasonable person would

not hesitate to rely and act upon it in the most important of his or her own affairs;

in other words, if you have such a doubt as would reasonably cause a prudent

person to hesitate in acting in important matters in his or her own affairs, then you

have a reasonable doubt, and in that circumstance, it is your duty to find the

defendant not guilty.

      Reasonable doubt is not whim or speculation. It is not an excuse to avoid the

performance of an unpleasant duty. Nor is it sympathy for the defendant you are

considering. “Beyond a reasonable doubt” does not mean a positive certainty, or

beyond all possible doubt. After all, it is virtually impossible for a person to be

absolutely and completely convinced of any contested fact that by its nature is not

subject to mathematical proof and certainty. As a result, the law in a criminal case

is that it is sufficient if the guilt of the defendant is established beyond a reasonable

doubt, not beyond all possible doubt.
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                                   The Indictment

      The defendant, Ross Ulbricht, has been formally charged in what is called an

“Indictment.”

      As I instructed you at the outset of this trial, the Indictment is simply an

accusation. It is no more than the means by which a criminal case is started.

      It is not evidence. It is not proof of the defendant’s guilt. It creates no

presumption, and it permits no inference that the defendant is guilty of the crimes

charged.

      You are to give no weight to the fact that an Indictment has been returned

against the defendant.

      I will not read the entire Indictment to you at this time. You will have a copy

of the Indictment with you in the jury room and will have an opportunity to read it

in its entirety. Rather, in a moment, I will summarize the charges in the

Indictment and then explain in detail the elements of each crime that is charged.




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                             GENERAL INSTRUCTIONS

                          Direct and Circumstantial Evidence

         There are two types of evidence that you may use in reaching your verdict.

One type of evidence is direct evidence. One kind of direct evidence is a witness’s

testimony about something that he or she knows by virtue of his or her own

senses—something that the witness has seen, smelled, touched, or heard. Direct

evidence may also be in the form of an exhibit.

         The other type of evidence is circumstantial evidence. Circumstantial

evidence is evidence that tends to prove one fact by proof of other facts.

         By way of example, if you wake up in the morning and see that the sidewalk

is wet, you may find from that fact that it rained during the night. However, other

evidence, such as a turned-on garden hose, may explain the water on the sidewalk.

Therefore, before you decide that a fact has been proven by circumstantial evidence,

you must consider all the evidence in the light of reason, experience, and common

sense.

         That is all there is to circumstantial evidence. You infer based on reason,

experience, and common sense from an established fact the existence or the

nonexistence of some other fact.

         Many facts, such as a person’s state of mind, can rarely be proven by direct

evidence. Circumstantial evidence is of no less value than direct evidence. It is a

general rule that the law makes no distinction between direct and circumstantial

evidence, but simply requires that, before convicting the defendant, you, the jury,
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must be satisfied of the defendant’s guilt beyond a reasonable doubt from all the

evidence in the case.




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                                Character Evidence

      You have reputation evidence about the defendant’s character trait for

peacefulness and non-violence. This testimony is not to be taken by you as the

witness’s opinion as to whether the defendant is guilty or not guilty. That question

is for you alone to determine. You should consider character evidence together with

and in the same way as all the other evidence in the case.




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                                       Inferences

      During the trial, and as I give you these instructions, you have heard and will

hear the term “inference.” For instance, in their closing arguments, the attorneys

have asked you to infer, based on your reason, experience, and common sense, from

one or more established facts, the existence of some other fact. I have instructed

you on circumstantial evidence and that it involves inferring a fact based on other

facts, your reason, and common sense.

      What is an “inference”? What does it mean to “infer” something? An

inference is not a suspicion or a guess. It is a reasoned, logical decision to conclude

that a disputed fact exists based on another fact that you know exists.

      There are times when different inferences may be drawn from facts, whether

proven by direct or circumstantial evidence. The Government asks you to draw one

set of inferences, while the defense asks you to draw another. It is for you, and you

alone, to decide what inferences you will draw.

      The process of drawing inferences from facts in evidence is not a matter of

guesswork or speculation. An inference is a deduction or conclusion that you, the

jury, are permitted but not required to draw from the facts that have been

established by either direct or circumstantial evidence. In drawing inferences, you

should exercise your common sense.

      Therefore, while you are considering the evidence presented to you, you may

draw, from the facts that you find to be proven, such reasonable inferences as would

be justified in light of your experience.
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      Some inferences, however, are impermissible. You may not infer that the

defendant is guilty of participating in criminal conduct merely from the fact that he

was present at the time the crime was being committed and had knowledge that it

was being committed. Nor may you use evidence that I have instructed you was

admitted for a limited purpose for any inference beyond that limited purpose.

      In addition, you may not infer that the defendant is guilty of participating in

criminal conduct merely from the fact that he associated with other people who

were guilty of wrongdoing or merely because he has or had knowledge of the

wrongdoing of others.

      Here again, let me remind you that, whether based upon direct or

circumstantial evidence, or upon the logical, reasonable inferences drawn from such

evidence, you must be satisfied of the guilt of the defendant beyond a reasonable

doubt before you may convict the defendant of any of the crimes charged.




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                               Credibility of Witnesses

      Now for the important subject of evaluating testimony. How do you evaluate

the credibility or believability of the witnesses? The answer is that you use your

plain common sense. Common sense is your greatest asset as a juror. You should

ask yourselves, did the witness impress you as honest, open, and candid? Or did the

witness appear evasive, or as though the witness were trying to hide something?

How responsive was the witness to the questions asked on direct examination and

on cross-examination?

      If you find that a witness is intentionally telling a falsehood that is always a

matter of importance that you should weigh carefully. If you find that any witness

has lied under oath at this trial, you should view the testimony of such a witness

cautiously and weigh it with great care. It is, however, for you to decide how much

of the witness’s testimony, if any, you wish to believe. Few people recall every

detail of every event precisely the same way. A witness may be inaccurate,

contradictory, or even untruthful in some respects and yet entirely believable and

truthful in other respects. It is for you to determine whether such inconsistencies

are significant or inconsequential, and whether to accept or reject all or to accept

some and reject the balance of the testimony of any witness.

      On some occasions during this trial, witnesses were asked to explain an

apparent inconsistency between testimony offered at this trial and previous

statements made by the witness. It is for you to determine whether a prior

statement was inconsistent, and if so, how much (if any) weight to give to an
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inconsistent statement in assessing the witness’s credibility at trial. You may

consider evidence of a witness’s prior inconsistent statement only insofar as it

relates to that witness’s credibility.

      In evaluating credibility of the witnesses, you should take into account any

evidence that the witness who testified may benefit in some way from the outcome

of this case. Such an interest in the outcome creates a motive to testify falsely and

may sway the witness to testify in a way that advances his own interests.

Therefore, if you find that any witness whose testimony you are considering may

have an interest in the outcome of this trial, then you should bear that factor in

mind when evaluating the credibility of his or her testimony and accept it with

great care. This is not to suggest that any witness who has an interest in the

outcome of a case would testify falsely. It is for you to decide to what extent, if at

all, the witness’s interest has affected or colored his or her testimony.

      You are not required to accept testimony even though the testimony is

uncontradicted and the witness’s testimony is not challenged. You may decide

because of the witness’s bearing or demeanor, or because of the inherent

improbability of the testimony, or for other reasons sufficient to yourselves that the

testimony is not worthy of belief. On the other hand, you may find, because of a

witness’s bearing and demeanor and based upon your consideration of all the other

evidence in the case, that the witness is truthful.

      Thus, there is no magic formula by which you can evaluate testimony. You

bring to this courtroom all your experience. You determine for yourselves in many
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circumstances the reliability of statements that are made by others to you and upon

which you are asked to rely and act. You may use the same tests here that you use

in your everyday lives. You may consider the interest of any witness in the outcome

of this case and any bias or prejudice of any such witness, and this is true

regardless of who called or questioned the witness.




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                                  Defendant’s Testimony

      A defendant in a criminal case does not have a duty to testify or come

forward with any evidence. Under our Constitution, a defendant has no obligation

to testify or to present any evidence, because it is the Government’s burden to prove

a defendant guilty beyond a reasonable doubt. That burden remains with the

Government throughout the entire trial and never shifts to the defendant. The

defendant is never required to prove that he is innocent.

      In this case, the defendant, Ross Ulbricht, chose not to testify. You must not

attach any significance to the fact that the defendant did not testify. I instruct you

that no adverse inference against the defendant may be drawn by you because he

did not take the witness stand, and you may not consider it in any way in your

deliberations in the jury room.




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                            Law Enforcement Witnesses

      You have heard the testimony of various members of law enforcement. The

fact that a witness may be employed as a law enforcement official or employee by

the United States Government or by a foreign government does not mean that his

testimony deserves more or less consideration or greater or lesser weight than that

of an ordinary witness.

      At the same time, it is legitimate for defense counsel to try to attack the

credibility of a law enforcement witness because his testimony may be colored by a

personal or professional interest in the outcome of the case.

      It is your decision, after reviewing all the evidence, whether to accept the

testimony of the law enforcement or Government employee witness, as it is with

every other type of witness, and to give that testimony the weight that you find it

deserves.

      I note that some of the testimony you heard from law enforcement agents

included testimony concerning what they personally suspected or believed about

particular individuals at various points during their investigation. As I have

instructed you previously, such beliefs or suspicions of a law enforcement agent, or

any other witness, are not evidence and should be disregarded.




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                     Accomplice/Cooperating Witness Testimony

      You have heard from witnesses who testified that they committed crimes.

Let me say a few things that you want to consider during your deliberations on the

subject of what we call cooperating witnesses.

      Cooperating witness testimony should be given such weight as it deserves in

light of the facts and circumstances before you, taking into account the witness’s

demeanor, candor, the strength and accuracy of the witness’s recollection, the

witness’s background, and the extent to which the testimony is or is not

corroborated by other evidence in the case.

      Because of the possible interest that a cooperator may have in testifying for

the Government, you should scrutinize his testimony with special care and caution.

You may consider the fact that a witness is a cooperator as bearing upon his

credibility. You may consider whether a witness, like any other witness in this

case, has an interest in the outcome of the case and, if so, whether it has affected

his testimony. It does not follow, however, that, simply because a person has

admitted to participating in one or more crimes, he is incapable of giving a truthful

version of what happened.

      You also heard testimony about cooperation or non-prosecution agreements

between the Government and cooperating witnesses. The existence of such an

agreement itself and its effect on the witness may be considered by you in

determining credibility. Your sole concern is whether a witness has given truthful

and accurate testimony here in this courtroom before you.
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      In evaluating the testimony of a cooperating witness, you should ask

yourselves whether the witness would benefit more by lying, or by telling the truth.

Was his testimony fabricated in any way because he believed or hoped that he

would somehow receive favorable treatment by testifying falsely? Or did he believe

that his interests would be best served by testifying truthfully? If you believe that

the witness was motivated by hopes of personal gain, was the motivation one that

would cause him to lie, or was it one which would cause him to tell the truth? Did

this motivation color his testimony?

      If you find that the testimony was false, you should reject it. However, if,

after a cautious and careful examination of the cooperating witness’s testimony and

demeanor upon the witness stand, you are satisfied that the witness told the truth,

you should accept it as credible and act upon it accordingly. As with any witness,

let me emphasize that the issue of credibility need not be decided in an all-or-

nothing fashion. Even if you find that a witness testified falsely in one part, you

still may accept his or her testimony in other parts, or may disregard all of it. That

is a determination entirely for you, the jury.

      You have also heard testimony that one of the cooperating witnesses pled

guilty to charges arising from drug dealing on Silk Road. You are instructed that

you are to draw no conclusions or inferences of any kind about the guilt of the

defendant on trial from the fact that a Government witness pled guilty to similar

charges. The decision of that witness to plead guilty was a personal decision that



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witness made about his own guilt. It may not be used by you in any way as

evidence against or unfavorable to the defendant on trial here.




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                                 Persons Not on Trial

      You may not draw any inference, favorable or unfavorable, towards the

Government or the defendant on trial, from the fact that certain persons were not

named as a defendant in the Indictment. The fact that these persons are not on

trial here must play no part in your deliberations.

      Whether a person should be named as a co-conspirator or indicted as a

defendant is a matter within the sole discretion of the United States Attorney and

the grand jury. Therefore, you may not consider it in any way in reaching your

verdict as to the defendant on trial.




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                              Preparation of Witnesses

      You have heard evidence during the trial that witnesses have discussed the

facts of the case and their testimony with the Government lawyers, the defense

lawyers, or their own lawyers before the witnesses appeared in court.

      Although you may consider that fact when you are evaluating a witness’s

credibility, I instruct you that there is nothing either unusual or inherently

improper about a witness meeting with the Government lawyers, the defense

lawyers, or his or her own lawyers before testifying so that the witness can be

aware of the subjects he or she will be questioned about, focus on those subjects,

and have the opportunity to review relevant exhibits before being questioned about

them. Such consultation helps conserve your time and the Court’s time. In fact, it

would be unusual for a lawyer to call a witness without such consultations.

      The weight you give to the fact or the nature of the witness’s preparation for

his or her testimony and what inferences you draw from such preparation are

matters completely within your discretion.




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                             Investigative Techniques

      You have heard reference through the questioning to the fact that certain

investigative techniques were used by the Government. There is no legal

requirement, however, that the Government prove its case through any particular

means.

      Your concern is whether or not, on the evidence or lack of evidence, the

Government has proved the defendant’s guilt beyond a reasonable doubt.




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                         Use of Electronic Communications

      Some of the evidence in this case has consisted of electronic communications

seized from computers or electronic accounts. There is nothing illegal about the

Government’s use of such electronic communications in this case and you may

consider them along with all the other evidence in the case. Whether you approve

or disapprove of the seizure of these communications may not enter your

deliberations.

      You must, therefore, regardless of any personal opinions, consider this

evidence along with all the other evidence in the case in determining whether the

Government has proved beyond a reasonable doubt the guilt of the defendant.

However, as with the other evidence, it for you to determine what weight, if any, to

give such evidence.




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                                     Stipulations

      You have heard some evidence in the form of what are called “stipulations.”

A stipulation of fact is an agreement among the parties that a certain fact is true.

You should regard such agreed facts as true.

      A stipulation of testimony is an agreement among the parties that, if called, a

witness would have given certain testimony. You must accept as true the fact that

the witness would have given the testimony. However, it is for you to determine the

effect or weight to give that testimony.




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                              Use of Charts and Tables

      Now, some of the exhibits were charts, tables, or other forms of summary

exhibits. These exhibits are not direct evidence. They are graphic representations

or other ways of summarizing more voluminous information that was either

described in the testimony of a witness or reflected in documents admitted into

evidence. It is often easier and more convenient to utilize charts, tables, and

summaries as opposed to placing all of the underlying documents in front of you.

But it is up to you to decide whether the summary exhibits fairly and correctly

reflect the underlying testimony and documents they purport to summarize. To the

extent that the summary exhibits conform with your understanding of the

underlying evidence, you may accept them. To the extent they do not, you should

set them aside and rely on the underlying evidence instead. But one way or the

other, realize that the summary exhibits are not in and of themselves direct

evidence. They are merely intended to serve as aids in a party’s presentation of the

evidence. They are nothing more.




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                              Excerpts and Redactions

      Some of the exhibits admitted into evidence consist of excerpts of longer

documents that were not admitted into evidence in their entirety. These excerpts

are simply the portions of the underlying documents considered to be most relevant

to the case by the party introducing them. There is nothing unusual or improper

about the use of such excerpts, and you are not to infer from the use of such

excerpts that any relevant portion of a document has been omitted.

      Similarly, some of the exhibits admitted into evidence include redactions of

certain information. Again, there is nothing unusual or improper about such

redactions, and you are not to infer from the use of such redactions that any

relevant portion of a document has been removed.




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                       Uncalled Witnesses Equally Available

      You have heard the names of several people during the course of the trial

who did not appear here to testify and one or more of the attorneys may have

referred to their absence. I instruct you that each party had an equal opportunity

or lack of opportunity to call any of these witnesses. However, the Government

bears the burden of proof, the defendant does not bear the burden of proof.

Therefore, you should not draw any inferences or reach any conclusions as to what

these persons would have testified to had they been called. Their absence should

not affect your judgment in any way.

      You should, however, remember my instruction that the law does not impose

on a defendant in a criminal case the burden or duty of calling any witnesses or

producing any evidence.




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                                       CHARGE

                             Summary of the Indictment

      The defendant, Ross Ulbricht, has been formally charged in a document

called an Indictment. As I instructed you at the outset of this case, an Indictment is

a charge or accusation. It is not evidence. Here, the Indictment contains seven

counts. You will have a copy of the Indictment with you in the jury room and can

read each Count in its entirety. I am going to provide only a brief summary now:

      Count One charges the defendant with distributing narcotics or aiding and

abetting the distribution of narcotics.

      Count Two charges the defendant with distributing narcotics or aiding and

abetting the distribution of narcotics by means of the Internet, specifically.

      Count Three charges the defendant with conspiring with others to violate the

narcotics laws of the United States.

      Count Four charges the defendant with engaging in a “continuing criminal

enterprise,” a term that I shall define for you in a moment.

      Count Five charges the defendant with conspiring with others to commit or

aid and abet computer hacking.

      Count Six charges the defendant with conspiring with others to traffic in

fraudulent identification documents or to aid and abet such activity.

      Count Seven charges the defendant with conspiring with others to commit

money laundering.



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                                 Multiple Counts

      As I just indicated, the Indictment contains a total of seven counts. Each

count constitutes a separate offense or crime. You must consider each count of the

Indictment separately, and you must return a separate verdict on each count

charged.




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                           Count One: Narcotics Trafficking

      As I said, Count One charges the defendant with distributing or aiding and

abetting the distribution of narcotics.

      In order to find the defendant guilty of this count, you must find that the

Government has proven beyond a reasonable doubt the following two elements:

      First, that the defendant distributed or aided and abetted the distribution of

controlled substances. I will use the terms “controlled substances,” “narcotics,” and

“drugs” interchangeably.

      Second, that he did so knowingly or intentionally.




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                Count One, First Element: Distribution of Narcotics

      The term “distribute” refers to selling, delivering, or otherwise transferring

narcotics from one person to another.

      One can also be said to “distribute” narcotics by committing an act in

furtherance of a sale, delivery, or transfer, such as brokering a sales transaction,

receiving purchase money, or arranging for the delivery of narcotics. It is not

necessary for you to find that the defendant himself personally possessed any

narcotics in order for you to find that he participated in distributing narcotics.

However, distribution requires a concrete involvement in the transfer of the drugs.




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             Count One, Second Element: “Knowingly or Intentionally”

      The second element the Government must prove as to Count One is that the

defendant acted knowingly or intentionally in distributing or aiding and abetting

the distribution of narcotics. To satisfy this element, you must find that the

defendant had knowledge that what he was distributing consisted of narcotics or

that he intended to distribute narcotics.

      Knowledge is a matter of inference from facts proved. A person acts

“intentionally” and “knowingly” if he acts purposely and deliberately and not

because of mistake or accident, mere negligence, or other innocent reason. That is,

the acts must be the product of the defendant’s conscious objective.




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                           Count One: Aiding and Abetting

      In addition to charging the defendant under a federal law that makes it

illegal to distribute narcotics, Count One also charges the defendant under a federal

law that makes it a crime for anyone to aid and abet a federal offense, including

narcotics trafficking.

      Under this aiding and abetting statute, it is not necessary for the

Government to show that the defendant himself physically committed the crime

with which he is charged in order for you to find him guilty of committing that

crime. Thus, even if you do not find beyond a reasonable doubt that the defendant

himself committed the substantive crime charged, you may, under certain

circumstances that I will describe, still find the defendant guilty of the crime as an

aider or abettor. Aiding and abetting means knowingly and intentionally helping or

assisting in the commission of a crime.

      A person who aids or abets another to commit an offense is just as guilty of

that offense as if he committed it himself. Therefore, you may find the defendant

guilty of a substantive crime if you find that the Government has proven beyond a

reasonable doubt that another person actually committed the crime, and that the

defendant aided and abetted that person in the commission of the crime.

      As you can see, the first requirement is that another person has committed

the crime charged. Obviously, no one can be convicted of aiding and abetting the

criminal act of another if no one committed a crime. If you do find that the

Government has proven beyond a reasonable doubt that a crime was committed,
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however, then you must consider whether the defendant aided or abetted the

commission of the crime.

       In order to aid or abet another to commit a crime, it is necessary that the

Government prove beyond a reasonable doubt that the defendant knowingly and

intentionally associated himself in some way with the crime, and that he knowingly

and intentionally sought, by some act, to help make the crime succeed.

       The mere presence of the defendant where a crime is being committed, even

coupled with knowledge by the defendant that a crime is being committed, or the

mere acquiescence by the defendant in the criminal conduct of others, even with

guilty knowledge, is not sufficient to establish aiding and abetting. An aider and

abettor must have some interest in the criminal venture.

       To determine whether the defendant aided or abetted the commission of the

crime with which he is charged in Count Four or Count Eight, ask yourself whether

the Government has proven the following beyond a reasonable doubt:

   x   Did he participate in the crime charged as something he wished to bring

       about?

   x   Did he associate himself with the criminal venture knowingly and

       intentionally?

   x   Did he seek by his actions to make the criminal venture succeed?

If the answer to all of these questions is yes, then the defendant is an aider and

abettor, and therefore guilty of the offense. If the answer to any of these questions is



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no, then the defendant is not an aider and abettor, and is not guilty of the offense as

such.




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                              Count One: Drug Quantity

       If, and only if, you find that the Government has proven beyond a reasonable

doubt that the defendant is guilty of the offense charged in Count One, then you are

required to determine whether or not the Government has proven beyond a

reasonable doubt that the offense involved the quantities of the particular narcotics

alleged in Count One.

       Specifically, you must determine whether the Government has proven beyond

a reasonable doubt that the defendant distributed or aided and abetted the

distribution of any of the following narcotics in the quantities specified:

       x   heroin in amounts totaling one kilogram or more

       x   cocaine in amounts totaling five kilograms or more

       x   LSD in amounts totaling 10 grams or more

       x   methamphetamine in amounts totaling 500 grams or more

       The Government need not prove that the defendant was specifically aware of,

or could foresee, the types and quantities of drugs he was distributing or helping

others distribute. As long as the defendant knowingly or intentionally distributed

or aided and abetted the distribution of some amount of controlled substances, he is

responsible for all the types and quantities of controlled substances distributed,

regardless of whether he knew or could foresee the types or quantities involved.

       The Government also need not prove the purity of any of the drugs that were

distributed. Any mixture or substance containing a detectable amount of the drug

is sufficient.
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      You will be provided with a verdict form or chart that will include spaces for

you to indicate your determinations concerning these questions. As will be reflected

on the form, you do not need to determine the precise quantities of drugs involved in

the offense in Count One. Rather, you need only decide whether the drugs included

any of the types of drugs I just described, in amounts that, in total, exceed the

thresholds that I have just described. You need not find the alleged quantities are

met in order to convict on Count One, but your determination regarding drug type

and quantity, like your determination regarding the defendant’s guilt, must be

unanimous and must be reached beyond a reasonable doubt.




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         Count Two: Distributing or Aiding and Abetting the Distribution
                     of Narcotics by Means of the Internet

      Let me now go on to Count Two of the Indictment, which charges the

defendant under a federal law that specifically makes it a crime to distribute

controlled substances by means of the Internet, or to aid and abet such activity.

      In order to find the defendant guilty of this count, you must find that the

Government has proven beyond a reasonable doubt the following elements:

      First, that the defendant delivered or distributed a controlled substance, or

aided and abetted others in doing so;

      Second, that the delivery or distribution of controlled substances in question

was accomplished by means of the Internet;

      Third, that the defendant acted knowingly or intentionally.




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    Count Two, First Element: Delivering or Distributing Controlled Substances

      The first element of Count Two requires that you find that the defendant

delivered or distributed a controlled substance, or that he aided and abetted others

in doing so. Any of these alternatives is sufficient to satisfy this element.

      I have already defined what it means to “distribute” or “deliver” controlled

substances in explaining Count One. Essentially, these terms refer to transferring

or dealing out controlled substances to others.

      I have also already defined the concept of aiding and abetting in explaining

Count One. Again, you should apply that same definition here.




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                  Count Two, Second Element: Use of the Internet

      The second element of Count Two requires that you find that the controlled

substances at issue were delivered or distributed by means of the Internet. This

element is satisfied if you find the Government has proved beyond a reasonable

doubt that the defendant served as an intermediary or middleman who caused the

Internet to be used to bring together buyers and sellers engaged in distributing

controlled substances, in a manner not authorized by law.

      However, it is not sufficient to merely place on the Internet material

advocating the use of a controlled substance or even which includes pricing

information, if unaccompanied by an attempt to propose or facilitate an actual

transaction involving a controlled substance.




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             Count Two, Third Element: “Knowingly or Intentionally”

      Lastly, in order to find the defendant guilty on Count Two, you must find

that he acted knowingly or intentionally. I have already defined the terms

“knowingly” and “intentionally” in explaining Count One. You should apply those

same definitions here.




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                            Count Two: Drug Quantity

      As with Count One, if you find the defendant guilty on Count Two, you must

go on to determine whether certain types and quantities of drugs—the same types

and quantities we discussed with respect to Count One—were involved in Count

Two. Again, you will be provided with a verdict form that will include spaces for

you to indicate your determinations concerning these questions. The same

instructions I gave you with respect to determining drug quantity as to Count One

apply here as well.




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                Count Three: Conspiracy to Violate the Narcotics Laws

        Let me now move on to Count Three, which charges the defendant with

conspiring with others to violate the narcotics laws.

        In order to find the defendant guilty of this count, you must find that the

Government has proven the following elements beyond a reasonable doubt:

        First, the Government must prove beyond a reasonable doubt that a

conspiracy to violate the narcotics laws existed—that is, that two or more persons

had an agreement or understanding to achieve certain unlawful goals, called the

“objects” of the conspiracy, which I shall describe for you in a moment. Every

conspiracy must have one or more objects or goals. In other words, a conspiracy

must be aimed at doing something—accomplishing something.

        Therefore, the first question for you is: Did the conspiracy alleged in Count

Three exist? Was there such an agreement?

        Second, the Government must prove beyond a reasonable doubt that the

defendant intentionally and knowingly was a member of this conspiracy—that is,

that he knowingly participated in the conspiracy to violate the narcotics laws, with

knowledge of its objects and an intent to further those objects.

        Let me now discuss the elements of conspiracy in greater detail. I should

note that, besides Count Three, Counts Five, Six, and Seven also involve conspiracy

charges, so these general instructions regarding conspiracy apply to those counts as

well.



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              Count Three, First Element: Existence of the Conspiracy

       How do you determine whether a conspiracy “existed”? Simply defined, a

conspiracy is an agreement by two or more persons to violate the law. A conspiracy

has sometimes been called a partnership for criminal purposes in which each

partner becomes the agent of every other partner.

       To establish the existence of a conspiracy, however, the Government is not

required to show that two or more people sat around a table and entered into a

formal contract. From its very nature a conspiracy is almost always characterized

by secrecy and concealment. It is sufficient if two or more persons, in any manner,

whether they say so directly or not, come to a common understanding to violate the

law. Express language or specific words are not required to indicate agreement to

or membership in a conspiracy.

       It is not necessary that a conspiracy actually succeed in its purpose for you to

conclude that it existed. If a conspiracy exists, even if it should fail in its purpose, it

is still a crime. It is the agreement itself—the agreement with others to commit a

crime—that the law forbids and defines as a crime.

       In determining whether there has been an unlawful agreement, you may

judge the acts and conduct of the alleged members of the conspiracy that are done to

carry out an apparent criminal purpose. The phrase “actions speak louder than

words” is applicable here.

       If, upon consideration of all the evidence, direct and circumstantial, you find

beyond a reasonable doubt that the minds of two or more of the conspirators met
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(we call this sometimes “a meeting of the minds”)—that is, that they agreed, as I

have explained a conspiratorial agreement to you, to work together in furtherance

of the unlawful scheme alleged in the Indictment—then proof of the existence of the

conspiracy is established.




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               Count Three, First Element: Objects of the Conspiracy

      Let’s talk about the “objects” of the conspiracy. As I said, in order to find the

defendant guilty of the conspiracy charged in Count Three, you must find that the

Government has proven beyond a reasonable doubt that the conspiracy had certain

“objects,” or goals that the conspirators were seeking to achieve.

      There are three objects alleged as part of the conspiracy charged in Count

Three—three violations of the narcotics laws that the conspirators allegedly agreed

to commit. You need not find that the defendant agreed to accomplish each and

every one of these objects. An agreement to accomplish any one of these three

objects is sufficient. However, you must all agree beyond a reasonable doubt on at

least one specific object that the defendant agreed with others to try to accomplish.

In other words, you must be unanimous as to a particular object of the conspiracy

before you can find that this element is satisfied.

      As to the first object, Count Three alleges that the defendant agreed with

others to distribute controlled substances. I have already explained the elements of

this crime in discussing Count One. What is being charged here in Count Three is

that the defendant agreed with others to commit this crime.

      As to the second object, Count Three alleges that the defendant agreed with

others to deliver or distribute controlled substances by means of the Internet, in a

manner not authorized by law, or to aid and abet such activity. I have already

explained the elements of this crime in discussing Count Two. Again, what is being



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charged here in Count Three is that the defendant agreed with others to commit

this crime.

       As to the third object, Count Three alleges that the defendant agreed with

others to use a communication facility in committing, causing, or facilitating the

commission of acts in violation of the narcotics laws. That crime is not separately

charged elsewhere in the Indictment, so let me go over its elements now.

       To show that the conspiracy alleged in Count Three had this crime as an

object, the Government must prove the following beyond a reasonable doubt:

       First, the Government must prove beyond a reasonable doubt that the

defendant agreed with others to use a communication facility. A communication

facility is simply any device or system that can be used to transmit communications,

and includes the Internet.

       Second, the Government must prove beyond a reasonable doubt that the

defendant agreed with others to use the communication facility in the process of

committing, causing, or facilitating the commission of a narcotics felony, including

the distribution of controlled substances or the importation of controlled substances

into the United States;

       Third, the Government must prove beyond a reasonable doubt that the

defendant acted knowingly or intentionally—terms that I have already defined for

you.




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           Count Three, Second Element: Participation in the Conspiracy

      If you find the Government has proven beyond a reasonable doubt that a

conspiracy to commit one or more of the objects alleged in Count Three of the

Indictment existed, you must then determine whether the defendant intentionally

and knowingly was a member of that conspiracy. That is, did he participate in the

conspiracy with knowledge of its unlawful purpose and with the specific intention of

furthering the objective of that conspiracy?

      As I explained earlier, an act is done intentionally and knowingly if it is done

purposely and deliberately and not because of mistake or accident, mere negligence,

or other innocent reason. That is, the acts must be the product of the defendant’s

conscious objective.

      If you find that the Government has proved beyond a reasonable doubt that a

conspiracy existed (that is, the element we discussed a few moments ago), and that

the defendant participated intentionally and knowingly in it, the extent of the

defendant’s participation has no bearing on whether or not he is guilty. It does not

matter whether a defendant’s role in the conspiracy may have been more limited

than or different in nature from the roles of other co-conspirators. All that matters

is that he intentionally and knowingly participated in the conspiracy, aware of its

illegal objectives and desiring to further those objectives.

      Also, the defendant’s membership in the charged conspiracy can be

established only by evidence of his own actions or words, and not by others who

might be members of the charged conspiracy.
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      Once a person joins a conspiracy, that person remains a member unless and

until he withdraws from it completely. In order to withdraw from the conspiracy, a

conspirator must show that he took some affirmative act to disavow or defeat the

purpose of the conspiracy. He can do so either by informing law enforcement of the

criminal activities of the conspiracy or by communicating his abandonment of the

conspiracy in a manner reasonably calculated to reach co-conspirators. Merely

ceasing to play a part in the conspiracy is not sufficient by itself to establish

withdrawal from the conspiracy. Moreover, if, after initially attempting to

withdraw, a conspirator takes any subsequent acts to promote the conspiracy or

receives any additional benefits from the conspiracy, he cannot be considered to

have withdrawn from the conspiracy. The defendant has the burden of proving that

he withdrew from the conspiracy by a preponderance of the evidence. To prove

something by a preponderance of the evidence means to prove that it is more likely

true than not true.

      If you find that the defendant at some point withdrew from the conspiracy, he

is not responsible for the acts of his co-conspirators following his withdrawal.

However, the defendant still would have been part of the conspiracy until the point

of withdrawal. In other words, even if you conclude that the defendant withdrew

from the conspiracy at a particular time, he would remain responsible for the

actions of the conspiracy up until that time.




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               Count Three, Second Element: Extent of Participation

      As I have just said, the extent of the defendant’s participation in the

conspiracy charged in the Indictment has no bearing on the issue of the defendant’s

guilt. He need not have joined the conspiracy at the outset. He need not have been

a part of the conspiracy when it ended. But, he must, at some point during its

progress, have participated in the conspiracy with knowledge as to its general scope

and purpose.

      If he did participate with such knowledge at any time while it was in

progress, he may still be held responsible for all that was done before or after he

participated in addition to all that was done during the conspiracy’s existence while

he was a member, to the extent the conspiratorial activity of others was reasonably

foreseeable to him. Indeed, each member of a conspiracy may perform separate and

distinct acts and may perform them at different times. Some conspirators play

major roles, while others play minor parts in the scheme. An equal role is not what

the law requires. In fact, even a single act may be sufficient to draw the defendant

within the ambit of the conspiracy.

      I want to caution you, however, that the defendant’s mere presence at the

scene of an alleged crime does not, by itself, make him a member of the conspiracy.

Similarly, mere association with one or more members of a conspiracy, even coupled

with knowledge that such other person is acting unlawfully, does not automatically

make the defendant a member. A person may know, be related to, or be friendly

with, or communicate with, a conspirator, without being a conspirator himself.
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Mere similarity of conduct or the fact that the defendant may have assembled

together with others, communicated with others, and discussed common aims and

interests does not necessarily establish proof of the existence of a conspiracy.

        I also want to caution you that mere knowledge or acquiescence, without

participation, in the unlawful plan is not sufficient. Moreover, merely taking acts

that happen to further the purposes or objectives of the conspiracy, without

knowledge or intent, is not sufficient to make someone a member of a conspiracy.

More is required under the law. What is necessary is that the defendant

participated with knowledge of at least some of the purposes or objectives of the

conspiracy and with the intention of aiding in the accomplishment of those unlawful

ends.

        In sum, you must decide whether the Government has proved beyond a

reasonable doubt that the defendant knew the unlawful character of the conspiracy

and intentionally engaged, advised, or assisted in the conspiracy for the purpose of

furthering the illegal undertaking. If so, the defendant became a knowing and

willing participant in the unlawful agreement—that is to say, a conspirator.




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        Count Three: Liability for Acts and Declarations of Co-Conspirators

      I now want to talk with you about liability for acts and statements of co-

conspirators.

      When people enter into a conspiracy to accomplish an unlawful end, each and

every member becomes an agent for the other conspirators in carrying out the

conspiracy. Accordingly, the reasonably foreseeable acts, declarations, statements

and omissions of any member of the conspiracy and in furtherance of the common

purpose of the conspiracy, are deemed, under the law, to be the acts of all of the

members, and all of the members are responsible for such acts, declarations,

statements and omissions.

      If you find, beyond a reasonable doubt, that the defendant was a member of

the conspiracy charged in the Indictment, then any acts done or statements made in

furtherance of the conspiracy by persons also found by you to have been members of

that conspiracy may be considered against the defendant. This is so even if such

acts were done and statements were made in the defendant’s absence and without

his knowledge.

      However, before you may consider the statements or acts of a co-conspirator

in deciding the issue of the defendant’s guilt, you must first determine that the acts

and statements were made during the existence, and in furtherance, of the unlawful

scheme. If the acts were done or the statements made by someone whom you do not

find to have been a member of the charged conspiracy or if they were not done or



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said in furtherance of the conspiracy, they may not be considered by you as evidence

against the defendant.




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                        Count Three: No Overt Act Required

      Count Three contains a section captioned “Overt Acts.” This section provides

several examples of conduct allegedly undertaken by the defendant to further or

promote the illegal objectives of the conspiracy charged in Count Three. However,

these alleged acts are not elements of the offense, and it is not necessary for the

Government to prove that any of the acts alleged in this section of the Indictment

took place.

      The same is true for the other conspiracy charges in the Indictment. None of

the conspiracy charges requires you to find that any specific overt acts were

committed in furtherance of the conspiracy. You need only find that a conspiracy of

the nature described existed, and that the defendant intentionally and knowingly

became a member of the conspiracy.




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                            Count Three: Drug Quantity

      As with Counts One and Two, if you find the defendant guilty on Count

Three, you must go on to determine whether certain types and quantities of drugs—

the same types and quantities we discussed with respect to Counts One and Two—

were involved in the conspiracy charged in Count Three. Again, you will be

provided with a verdict form that will include spaces for you to indicate your

determinations concerning these questions. The same instructions I gave you with

respect to determining drug quantity as to Count One apply here as well—with one

exception.

      In the case of a conspiracy, as we have discussed, a defendant is only liable

for the acts of his co-conspirators that are reasonably foreseeable to him. So, as to

Count Three, the defendant is accountable for the types and quantities of controlled

substances distributed by co-conspirators only if those types and quantities were

known or reasonably foreseeable to the defendant, and were within the scope of the

criminal activity that the defendant jointly undertook. Again, you will be provided

with a verdict form before you deliberate that will help you make these

determinations.




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                    Count Four: Continuing Criminal Enterprise

      Let me now move on to Count Four of the Indictment. Count Four charges

the defendant with engaging in a continuing criminal enterprise. To convict the

defendant on this count, the Government must prove beyond a reasonable doubt

that the defendant committed one of the federal narcotics felonies I will describe for

you in a moment, as part of a continuing series of federal narcotics offenses,

undertaken with five or more people whom he organized, supervised, or managed,

and from which he received substantial profit. In essence, Count Four charges that

the defendant engaged in the business of drug trafficking on a continuing, serious

basis, and that he oversaw others and made substantial money in the process.

      To meet its burden of proof on this offense, the Government must prove

beyond a reasonable doubt each of the following elements:

      First, the Government must prove that the defendant committed a federal

narcotics felony, specifically, one of the narcotics offenses alleged within Counts One

through Three, including distributing or aiding and abetting the distribution of

controlled substances, distributing or aiding and abetting the distribution of

controlled substances by means of the Internet, conspiring to distribute controlled

substances, or using a communication facility in connection with the distribution of

controlled substances;

      Second, the Government must prove that this offense was part of a series of

three or more violations of the federal narcotics laws committed by the defendant;



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      Third, the Government must prove that the defendant committed the

offenses in this series of violations in concert with five or more persons;

      Fourth, the Government must prove that the defendant acted as an

organizer, supervisor, or manager of these five or more persons; and

      Fifth, the Government must prove that the defendant obtained substantial

income or resources from the series of violations of the narcotics laws.




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   Count Four, First Element: Commission of Federal Narcotics Felony Offense

        The first element that the Government must prove as to Count Four is that

the defendant committed a felony violation of the federal narcotics laws.

Specifically, you must find the defendant guilty of one of the charges contained

within Counts One through Three of the Indictment, including any of the crimes

alleged as the objects of the conspiracy charged in Count Three.

        These offenses include:

        x   distributing or aiding and abetting the distribution of controlled

            substances, which I defined for you in discussing Count One;

        x   distributing or aiding and abetting the distribution of controlled

            substances by means of the Internet, which I defined for you in discussing

            Count Two;

        x   conspiring to distribute controlled substances, which I defined for you in

            discussing Count Three; or

        x   using a communication facility in committing or in causing or facilitating

            the commission of acts in violation of the narcotics laws, which I defined

            for you in discussing the objects of Count Three.

        Unless you find the Government has proved beyond a reasonable doubt that

the defendant committed at least one of these offenses, you cannot find the

defendant guilty under the continuing criminal enterprise law charged in Count

Four.



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            Count Four, Second Element: Continuing Series of Violations

      The second element the government must prove as to Count Four is that the

defendant committed a federal narcotics felony as part of a continuing series of

violations of the federal narcotics laws. A continuing series of violations is three or

more violations of the federal narcotics laws committed over a definite period of

time and related to each other in some way, as distinguished from isolated or

disconnected acts.

      These violations do not have to be alleged as separate counts in the

Indictment. The Indictment need not specify each violation that constitutes the

series. Rather, any particular occasion when the defendant distributed certain

illegal drugs or aided or abetted the distribution of such drugs could qualify as part

of a continuing series of narcotics violations committed in by the defendant.

Likewise, any particular occasion when the defendant used a communication

facility in committing, causing, or facilitating the commission of acts in violation of

the narcotics laws could qualify as part of a continuing series of narcotics violations.

      However, you must unanimously agree on which, if any, three or more felony

violations committed by the defendant constituted a continuing series of narcotics

violations in order to find the defendant guilty on Count Four.




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                  Count Four, Third Element: Five or More Persons

      The third element the government must prove as to Count Four is that the

defendant committed a continuing series of violations in concert with five or more

persons. These persons do not have to be named in the Indictment. They could be

others who you find, beyond a reasonable doubt, were persons with whom the

defendant committed the violations.

      It is not necessary that you identify each of these five persons by their first

and last names, but they must be, in fact, five separate persons.

      You do not have to find that the five or more persons acted together at the

same time, or that the defendant personally dealt with them together. As long as

there were at least five persons who the defendant somehow committed the

continuing series of violations along with, that is sufficient.




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           Count Four, Fourth Element: Organizer, Supervisor or Manager

      The fourth element the Government must prove beyond a reasonable doubt is

that the defendant occupied the position of organizer, supervisor, or manager with

respect to the five or more persons with whom he acted in concert.

      In considering whether the defendant occupied such a position, you should

give the words “organizer, supervisor or manager” their ordinary, everyday

meaning.

      The Government need not prove that the same type of superior-subordinate

relationship existed between the defendant and each of the people he allegedly

organized, supervised or managed. Nor is any particular type of organizational,

supervisory, or managerial role required. For example, the defendant is not

required to have had direct, personal contact with each of the persons he organized,

supervised, or managed. Nor are those persons required to have been salaried

employees of the defendant, or otherwise akin to paid workers. It is sufficient, for

instance, if the defendant arranged the activities of others into one essentially

orderly operation or enterprise, even if the persons were otherwise independent of

the defendant. The Government meets its burden on this element if it proves

beyond a reasonable doubt that the defendant exercised organizational or

supervisory or managerial responsibilities over five or more persons with whom he

acted in concert.




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      Merely selling a controlled substance, without more, however, does not make

a defendant an organizer, supervisor, or manager of the person or persons who

purchased the substance from him.




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            Count Four, Fifth Element: Substantial Income or Resources

      The final element the Government must prove as to Count Four is that the

defendant derived substantial income or resources from the continuing series of

federal narcotics violations.

      The statute does not prescribe the minimum amount of money required to

constitute substantial income, but the statute clearly intends to exclude trivial

amounts derived from occasional narcotics sales.




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      Count Five: Conspiracy to Commit or Aid and Abet Computer Hacking

      Let me next move on to Count Five, which charges the defendant with

conspiring with others to commit or aid and abet computer hacking.

      In order to find the defendant guilty of this count, you must find that the

Government has proven the following elements beyond a reasonable doubt:

      First, that there was an agreement or understanding between two or more

persons to commit or aid and abet computer hacking.

      Second, that the defendant intentionally and knowingly participated as a

member of the conspiracy.




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                       Count Five: Existence of the Conspiracy

        The alleged object of the conspiracy charged in Count Five is to commit or aid

and abet computer hacking. In order to establish that a conspiracy with this object

existed, the Government must prove the following:

        First, the Government must prove that two or more people had an agreement

to intentionally access computers without authorization and thereby obtain

information from the computers, or to aid and abet others in doing so. “Accessing

computers without authorization and thereby obtaining information from the

computers” refers to what is commonly called “computer hacking.” It means

accessing a computer, and viewing or copying data on the computer, without the

authorization of the person to whom the computer or data belongs. I have already

instructed you on the meaning of “intentionally.” I also have already instructed you

on the concept of aiding and abetting. You should apply those same instructions

here.

        Second, the Government must prove that the computers the conspirators

agreed to access without authorization, or to help others access without

authorization, were “protected computers.” The term “protected computer” refers to

any computer used in or affecting interstate or foreign commerce or communication,

which would include any computer connected to the Internet.

        Third, the Government must prove that in agreeing to access computers

without authorization, or to help others do so, the conspirators were acting for the

purpose of commercial advantage or private financial gain, or in furtherance of
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criminal or tortious acts in violation of the laws of the United States or of any State.

“Commercial advantage” is a profit or gain in money or property obtained through

business activity, and “private financial gain” is profit or gain in money or property

specifically for a particular person or group. “Criminal or tortious acts in violation

of the laws of the United States or of any State” are any acts that constitute either

crimes or wrongful acts for which private damages can be obtained in a civil

lawsuit, under federal law or the law of any state. In short, you must find that the

objective of the computer hacking at issue must have been either to obtain some

kind of profit or to commit a crime or actionable wrong against another person.




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                    Count Five: Membership in the Conspiracy

      If you find beyond a reasonable doubt that a conspiracy to commit or aid and

abet computer hacking existed as alleged in Count Five, you must then determine

whether the defendant intentionally and knowingly participated as a member of

that conspiracy.

      I have already instructed you as a general matter on what the Government is

required to show to prove membership in a conspiracy, and you should apply those

same instructions here.




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     Count Six: Conspiracy to Traffic in Fraudulent Identification Documents

      Let me now move on to Count Six of the Indictment, which charges the

defendant with conspiring with others to traffic in fraudulent identification

documents.

      In order to find the defendant guilty of this count, you must find that the

Government has proven the following elements beyond a reasonable doubt:

      First, that there was an agreement between two or more persons to traffic in

fraudulent identification documents; and

      Second, that the defendant intentionally and knowingly participated as a

member of the conspiracy.




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                          Count Six: Existence of the Conspiracy

         The alleged object, or goal, of the conspiracy charged in Count Six is to traffic

in fraudulent identification documents. In order to establish that a conspiracy with

this object existed, the Government must prove the following beyond a reasonable

doubt:

         First, the Government must prove that two or more people had an agreement

to knowingly transfer false identification documents. A “false identification

document” means a document of a type intended or commonly accepted for purposes

of identification, such as a driver’s license or passport, that appears to be issued by

the authority of a governmental entity but was not actually issued by a

governmental entity. A “false identification document” can also include an

identification document that was actually issued by a governmental entity but was

subsequently altered for the purposes of deceit. To “transfer” a false identification

document means simply to turn over possession or control of it to someone else,

whether as a result of selling it or otherwise. I have already instructed you on the

meaning of “knowingly,” and you should apply that instruction here.

         Second, the Government must prove that the conspirators knew that the

identification documents were stolen or produced without lawful authority. The

term “lawful authority” means the authority to manufacture, prepare or issue

identification documents by statute or regulation, or by contract with a government

entity which has such authority.



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      Third, the Government must prove that the transfer of the false identification

documents was in or affecting interstate commerce. Interstate commerce means the

movement of goods, services, money and individuals between any two states or

between the United States and a foreign country. The Government may satisfy this

element by proving beyond a reasonable doubt that the transfers affected interstate

commerce in any way, no matter how minimal. Transfer of the documents through

interstate or international shipments in the mail is sufficient.




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                     Count Six: Membership in the Conspiracy

      If you find beyond a reasonable doubt that a conspiracy to traffic in

fraudulent identification documents existed as alleged in Count Six, you must then

determine whether the Government has proved beyond a reasonable doubt that the

defendant intentionally and knowingly participated as a member of that conspiracy.

      Again, I have already instructed you as a general matter on what the

Government is required to show to prove membership in a conspiracy, and you

should apply those same instructions here.




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              Count Seven: Conspiracy to Commit Money Laundering

      Finally, let me move on to Count Seven, which charges the defendant with

conspiring to commit money laundering.

      In order to find the defendant guilty of this count, you must find that the

Government has proven the following elements beyond a reasonable doubt:

      First, that an agreement between two or more persons existed with the

money laundering objects alleged in Count Seven, which I shall discuss shortly.

      Second, that the defendant intentionally and knowingly participated as a

member of the conspiracy.




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                         Count Seven: Objects of the Conspiracy

         There are two objects of the money laundering conspiracy charged in Count

Seven. Count Seven alleges that one object of the conspiracy was to conduct

financial transactions with intent to promote specified unlawful activity,

specifically, narcotics trafficking, computer hacking, and identification document

fraud. Count Seven alleges that a second object of the conspiracy was to conduct

the financial transactions knowing that the transactions were designed in whole or

in part to conceal or disguise the proceeds of that unlawful activity.

         Again, you need not find that the defendant agreed to accomplish both of

these objects. An agreement to accomplish either one is sufficient. However, you

must all agree on the specific object or objects the defendant agreed with others to

try to accomplish.

         In order to establish that a money laundering conspiracy with either of these

objects existed, the Government must prove the following beyond a reasonable

doubt:

         First, the Government must prove that two or more persons entered into an

agreement to conduct “financial transactions,” a term that I will define for you in a

moment.

         Second, the Government must prove that the financial transactions at issue

involved the proceeds of specified unlawful activity, namely narcotics trafficking,

computer hacking, or identification document fraud;



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      Third, the Government must prove that the conspirators knew that the

financial transactions involved the proceeds of some form of unlawful activity; and

      Fourth, the Government must prove that the conspirators agreed to conduct

the financial transactions with one or both of the following purposes: either they

intended to promote the carrying on of specified unlawful activity, namely narcotics

trafficking, computer hacking, or identification document fraud; or they knew that

the transactions were designed to conceal or disguise the nature, location, source,

ownership, or control of the proceeds of these crimes.




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                 Count Seven, First Element of Money Laundering:
                  Agreement To Conduct A Financial Transaction

      The first element the Government must prove to establish the existence of a

money laundering conspiracy is that two or more persons agreed to conduct

financial transactions. The term “financial transaction” includes any transaction

which in any way or degree affects interstate or foreign commerce and involves the

movement of funds by wire or other means. The term “funds” includes any

currency, money, or other medium of exchange that can be used to pay for goods and

services.

      I have already defined the concept of interstate commerce for you. Again, in

determining whether the transactions at issue affected interstate or foreign

commerce, the effect on interstate or foreign commerce can be minimal. Any

movement of funds across state lines or national borders will satisfy this element.




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       Count Seven, Second Element of Money Laundering: Source of Funds

      The second element that the Government must prove to establish the

existence of a money laundering conspiracy is that the agreed-upon financial

transactions involved the proceeds of specified unlawful activity, namely narcotics

trafficking, computer hacking, or identification document fraud.

      The term “proceeds” means any property, or any interest in property, that

someone acquires or retains as profits resulting from the commission of the

specified unlawful activity.

      The term “specified unlawful activity” means any one of a variety of offenses

defined by the statute. In this case, the Government has alleged that the funds in

question were the proceeds of drug trafficking, computer hacking, and identification

document fraud. I instruct you that, as a matter of law, these crimes all fall within

the definition of “specified unlawful activity.” However, it is for you to determine

whether the funds at issue were the proceeds of any of these crimes. You must

unanimously find at least one of these crimes to have been the source of the funds to

satisfy this element.




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                 Count Seven, Third Element of Money Laundering:
                         Knowledge of the Source of Funds

      The third element that the Government must prove beyond a reasonable

doubt to establish the existence of a money laundering conspiracy is that the

members of the conspiracy knew that the financial transactions at issue involved

the proceeds of some form of unlawful activity. The Government does not have to

prove that the conspirators specifically knew that the property involved in the

transaction represented the proceeds of drug trafficking, for example, as opposed to

any other specific offense. The Government only has to prove that the individuals

agreeing to conduct the financial transactions knew that the transactions involved

the proceeds of some illegal activity that was a felony.

      Keep in mind that it is not necessary for all conspirators to believe that the

proceeds came from the same unlawful activity; it is sufficient that each conspirator

believed that the proceeds came from some unlawful activity.




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 Count Seven, Fourth Element of Money Laundering: Purpose of the Transactions

      Finally, the fourth element that the Government must prove beyond a

reasonable doubt to establish the existence of a money laundering conspiracy

concerns the purpose of the transactions conducted as part of the conspiracy. It is

here that the two objects of the conspiracy charged in Count Seven differ.

      As to the first object, the Government must prove beyond a reasonable doubt

that the conspirators agreed to conduct financial transactions with the intent to

promote the carrying on of drug trafficking, computer hacking, or identification

document fraud.

      As to the second object, the Government must prove beyond a reasonable

doubt that the conspirators agreed to conduct financial transactions with knowledge

that the transactions were designed to conceal or disguise the nature, location,

source, ownership, or control of the proceeds of drug trafficking, computer hacking,

or identification document fraud.

      As I have previously instructed, to act intentionally or knowingly means to

act purposely and deliberately and not because of mistake or accident, mere

negligence, or other innocent reason. That is, the acts must be the product of the

defendant’s conscious objective.

      The Government is not required to prove both alleged objects of the

conspiracy; either is sufficient standing alone. So, if you find that the Government

has proven beyond a reasonable doubt defendant agreed to act with the intention of

promoting the carrying on of drug trafficking, computer hacking, or identification

fraud, or with the knowledge that the financial transactions were designed to
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conceal or disguise the nature, location, source, ownership, or control of proceeds of

these crimes, this element is satisfied.




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                   Count Seven: Membership in the Conspiracy

      If you find that a conspiracy to commit money laundering as I’ve just

described to you existed, then you must then determine whether the Government

has proved beyond a reasonable doubt that the defendant intentionally and

knowingly became a member of that conspiracy.

      I have already instructed you as a general matter on what the Government is

required to show to prove membership in a conspiracy, and you should apply those

same instructions here.




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                             OTHER INSTRUCTIONS

                                  Variance in Dates

      The Indictment alleges that certain conduct occurred on or about various

dates or during various time periods. It is not necessary, however, for the

Government to prove that any conduct alleged occurred exactly when the

Indictment alleges. As long as the conduct occurred around any dates or within any

time periods the Indictment alleges it occurred, that is sufficient.




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                                        Venue

       In addition to all the elements I have described for you with respect to Counts

One through Seven of the Indictment, you must also decide whether any part of the

offense reached within the Southern District of New York. The Southern District of

New York includes only the following counties: Manhattan, the Bronx,

Westchester, Dutchess, Putnam, Rockland, Orange, and Sullivan. This is called

“venue.” Venue means place or location.

       Venue must be examined separately for each individual count. Venue on one

count does not establish venue on another count.

       The Government need not prove that any crime was completed in this

District or that the defendant or any of his co-conspirators was physically present

here. Rather, venue is proper in this District if the defendant, or anyone whose

conduct the defendant aided or abetted, or, for the conspiracy counts, any of the

defendant’s or his co-conspirators, caused any event to occur in this District in

furtherance of the offense.

       The defendant need not have specifically intended to cause something to

happen in this District, or known that he was causing something to happen here.

As long as it was reasonably foreseeable to the defendant that his conduct (or the

conduct of anyone whom he aided or abetted or conspired with) would cause

something to happen here in the Southern District in furtherance of the crime, that

is sufficient.

       Among other things, venue can be established if the defendant or his co-

conspirators caused any communications to be transmitted to or from this District
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that were in furtherance of the offense. Such communications can include the

transmission of the contents of a website to the Southern District of New York,

where the operation of the website was in furtherance of the offense and where it

was reasonably foreseeable to the defendant that the website could be accessed by

someone in the Southern District of New York.

      On this issue of venue—and this alone—the Government need not prove

venue beyond a reasonable doubt, but only by a mere preponderance of the

evidence. A “preponderance of the evidence” means more likely than not. Thus, the

Government has satisfied its burden of proof as to venue if you conclude that it is

more likely than not that some act or communication in furtherance of each charged

offense occurred in this District. If, on the other hand, you find that the

Government has failed to prove the venue requirement as to a particular offense,

then you must acquit the defendant of that offense, even if all other elements of an

offense are proven.




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  Improper Considerations: Race, Religion, National Origin, Sex, Age, or Political
                                     Views

      Your verdict must be based solely upon the evidence developed at trial or the

lack of evidence. It would be improper for you to consider, in reaching your decision

as to whether the Government sustained its burden of proof, any personal feelings

you may have about the defendant’s race, religion, national origin, sex, age, or

political views. Similarly, it would be improper for you to consider any personal

feelings you may have about the race, religion, national, origin, sex, age, or political

views of any other witness or anyone else involved in this case. Both the defendant

and the Government are entitled to a trial free from prejudice and our judicial

system cannot work unless you reach your verdict through a fair and impartial

consideration of the evidence.




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                                      Sympathy

      Under your oath as jurors you are not to be swayed by sympathy. You are to

be guided solely by the evidence in this case, and the crucial question that you must

ask yourselves as you sift through the evidence is: Has the Government proven the

guilt of the defendant beyond a reasonable doubt with respect to each of the

elements of each of the offenses charged?

      It is for you alone to decide whether the Government has proven beyond a

reasonable doubt that the defendant is guilty of the crime for which he is charged

solely on the basis of the evidence or lack of evidence and subject to the law as I

charge you. It must be clear to you that once you let fear, prejudice, bias or

sympathy interfere with your thinking, there is a risk that you will not arrive at a

true and just verdict.

      If the Government has failed to establish the defendant’s guilt beyond a

reasonable doubt, you must acquit him. But on the other hand, if you should find

that the Government has met its burden of proving the defendant’s guilt beyond a

reasonable doubt, you should not hesitate because of sympathy or any other reason

to render a verdict of guilty.




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                                    Punishment

      The question of possible punishment of the defendant is of no concern to you,

ladies and gentlemen of the jury, and should not, in any sense, enter into or

influence your deliberations. The duty of imposing sentence rests exclusively upon

the Court.

      Your function is to weigh the evidence in the case and to determine whether

or not the Government has proved that the defendant is guilty beyond a reasonable

doubt, solely upon the basis of such evidence.




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                                 Juror Note-Taking

      For those of you who took notes during the course of the trial, you should not

show your notes to or discuss your notes with any other juror during your

deliberations. Any notes you have taken are to assist you and you alone. The fact

that a particular juror has taken notes entitles that juror’s views to no greater

weight than those of any other juror.

      Finally, your notes are not to substitute for your recollection of the evidence

in this case. If you have any doubt as to any testimony, you may request that the

official trial transcript that has been made of these proceedings be read or otherwise

provided to you.




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                            CONCLUDING REMARKS

      Your function now is to weigh the evidence in this case and to determine the

guilt or non-guilt of the defendant, Ross Ulbricht, with respect to each one of the

counts in the Indictment in which he is charged. You are to consider his guilt or

non-guilt as to each count separately.

      You are about to begin your deliberations. Many—but not all—of the exhibits

will be sent with you into the jury room. For instance, we will not send the actual

computer hard drives you saw into the jury room. If you want to see any of the

physical evidence not sent into the jury room with you, or would like any of the

testimony given during the trial read back to you, that can be arranged. Please

appreciate that it is not always easy to locate any testimony that you might want,

so be as specific as you possibly can in requesting exhibits or portions of testimony

you may want. Any communication with the Court at all—whether requesting

evidence or testimony or otherwise—should be made to me in writing, signed by

your foreperson, and given to the Marshal. I will respond to any questions or

requests you have as promptly as possible, either in writing or by having you return

to the courtroom so I can speak with all of you in person, with the lawyers and the

defendant present. In no event should you tell me or anyone else—in a note or

orally—how the jury stands numerically in its voting on the issues of the

defendant’s guilt until after a unanimous verdict is reached.




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      Your first task as a jury will be to choose your foreperson, if you have not

already done so. The foreperson has no greater voice or authority than any other

juror but is the person who will communicate with the Court when questions arise.

      The most important part of this case, members of the jury, is the part that

you as jurors are now about to play as you deliberate on the issues of fact. It is for

you, and you alone, to decide whether the Government has proved beyond a

reasonable doubt the essential elements of the crimes with which the defendant has

been charged. If the Government has failed, your verdict must be not guilty; if it

has succeeded, your verdict must be guilty. Again, you must consider each count

individually. I know you will try the issues that have been presented to you

according to the oath that you have taken as jurors. In that oath you promised that

you would well and truly try the issues joined in this case and a true verdict render.

Your function is to weigh the evidence in the case and determine whether or not a

defendant is guilty solely upon the basis of such evidence.

      As you deliberate, please listen to the opinions of your fellow jurors, and ask

for an opportunity to express your own views. Every juror should be heard. No one

juror should hold center stage in the jury room and no one juror should control or

monopolize the deliberations. If, after listening to your fellow jurors and if, after

stating your own view, you become convinced that your view is wrong, do not

hesitate because of stubbornness or pride to change your view. On the other hand,

do not surrender your honest convictions and beliefs solely because of the opinions




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of your fellow jurors or because you are outnumbered. Your final vote must reflect

your conscientious belief as to how the issues should be decided.

       Your verdict must be unanimous. If at any time you are not in agreement,

you are instructed that you are not to reveal the position of the jurors, that is, the

split of the vote, to anyone, including the Court, at any time during your

deliberations. Finally, I say this not because I think it is necessary, but because it

is the custom in this courthouse to say this: You should treat each other with

courtesy and respect during your deliberations.

       All litigants stand equal in this room. All litigants stand equal before the bar

of justice. All litigants stand equal before you. Your duty is to decide the issues

before you fairly and impartially, and to see that justice is done.

       Under your oath as jurors, you are not to be swayed by sympathy. You

should be guided solely by the evidence presented during the trial and the law as I

gave it to you, without regard to the consequences of your decision. You have been

chosen to try the issues of fact and reach a verdict on the basis of the evidence or

lack of evidence. If you let sympathy interfere with your clear thinking, there is a

risk that you will not arrive at a just verdict. All parties are entitled to a fair trial.

You must make a fair and impartial decision so that you will arrive at a just verdict.

       Members of the jury, I ask your patience for a few moments longer. It is

necessary for me to spend a few moments with counsel and the reporter at the side

bar. I will ask you to remain patiently in the jury box, without speaking to each

other, and we will return in just a moment to submit the case to you.



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